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 1   RENE L. VALLADARES
     Federal Public Defender
 2   State Bar No. 11479
     PAUL D. RIDDLE
 3   Assistant Federal Public Defender
     411 E. Bonneville, Ste. 250
 4   Las Vegas, Nevada 89101
     (702) 388-6577/Phone
 5   (702) 388-6261/Fax
     Paul_Riddle@fd.org
 6
     Attorney for Santiago Gonzalez
 7
 8                               UNITED STATES DISTRICT COURT

 9                                     DISTRICT OF NEVADA

10
     UNITED STATES OF AMERICA,                           Case No. 2:15-cr-00349-GMN-PAL
11
                    Plaintiff,                               STIPULATION TO CONTINUE
12                                                             REVOCATION HEARING
            v.
                                                                   (Second Request)
13
     SANTIAGO GONZALEZ,
14
                    Defendant.
15
16
            IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A.
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     Trutanich, United States Attorney, and Kimberly Anne Sokolich, Assistant United States
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     Attorney, counsel for the United States of America, and Rene L. Valladares, Federal Public
19
     Defender, and Paul D. Riddle, Assistant Federal Public Defender, counsel for Santiago
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     Gonzalez, that the Revocation Hearing currently scheduled on January 6, 2021, be vacated and
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     continued to a date and time convenient to the Court, but no sooner than ninety (90) days.
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            This Stipulation is entered into for the following reasons:
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            1.      Mr. Gonzalez was recently indicted for the conduct which serves as the basis for
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     the revocation. Defense counsel requests the opportunity to review the discovery with his client
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     prior to the revocation hearing. Additionally, the parties would like to continue the revocation
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        Case 2:15-cr-00349-GMN-PAL Document 113 Filed 12/29/20 Page 2 of 3




 1   hearing to pursue a global agreement which will potentially resolve the new criminal case and
 2   the supervised release case.
 3          2.      The defendant is in custody and agrees with the need for the continuance.
 4          3.      The parties agree to the continuance.
 5          This is the second request for a continuance of the revocation hearing.
 6          DATED this 28th day of December, 2020.
 7
 8    RENE L. VALLADARES                             NICHOLAS A. TRUTANICH
      Federal Public Defender                        United States Attorney
 9
10
      By /s/ Paul D. Riddle                          By /s/ Kimberly Anne Sokolich
11    PAUL D. RIDDLE                                 KIMBERLY ANNE SOKOLICH
      Assistant Federal Public Defender              Assistant United States Attorney
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       Case 2:15-cr-00349-GMN-PAL Document 113 Filed 12/29/20 Page 3 of 3




 1                              UNITED STATES DISTRICT COURT

 2                                   DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                         Case No. 2:15-cr-00349-GMN-PAL
 4
                   Plaintiff,                          ORDER
 5
            v.
 6
     SANTIAGO GONZALEZ,
 7
                   Defendant.
 8
 9
10          IT IS THEREFORE ORDERED that the revocation hearing currently scheduled

11   for Wednesday, January 6, 2021 at 12:00 p.m., be vacated and continued to April 14, 2021, at

12   the hour of 10:00 a.m. in Courtroom 7D before Judge Gloria M. Navarro.

13          DATED this 29
                       ___ day of December, 2020.

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                                                UNITED STATES DISTRICT JUDGE
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